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   IN THE UNITED STATES DISTRICT COURT
   FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-CV-

   STEVEN DANIEL FELIX

                                  Plaintiff,

   v.

   WILLIS INVESTMENTS OF DURANGO, LLC

                           Defendant.
   ________________________________________________________________________

                                 COMPLAINT
   ________________________________________________________________________


          Plaintiff STEVEN DANIEL FELIX (“Plaintiff” or “Mr. FELIX”), by and through

   his attorney, as and for his complaint against Defendant WILLIS INVESTMENTS OF

   DURANGO, LLC (“Defendant”), alleges as follows:

                                               I. CLAIM

          1.      Mr. FELIX, a person with a physical disability and significant

   impairments, brings this action for declaratory and injunctive relief, attorney’s fees, costs,

   and litigation expenses against Defendant for violations of Title III of the Americans with

   Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

   Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

           2.     Defendant refused to provide Mr. FELIX and others similarly situated

   with sufficient ADA-compliant parking in the parking lot that serves NORTHPOINT

   HOME FURNISHINGS. At the Durango location, there is no ADA-compliant van-

   accessible space on the shortest access route to the main entrance. There is no disabled

   parking.


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           Based on these facts, Defendant has denied Mr. FELIX the ability to enjoy the

   goods, services, facilities, privileges, advantages, and accommodations at

   NORTHPOINT HOME FURNISHINGS.


                             II. JURISDICTION AND VENUE

          3.      This Court has subject matter jurisdiction over this action pursuant to 28

   U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

   Act of 1990, 42 U.S.C. §12101, et seq.

          4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

   events complained of occurred in Durango, Colorado, where the NORTHPOINT HOME

   FURNISHINGS business is located.


                                        III. PARTIES

          5.      Plaintiff STEVEN DANIEL FELIX is an honorably discharged U.S.

   Army veteran who served in Iraq, Afghanistan and South Korea. As a result of his

   service, Mr. Felix is 100% disabled, as established by the Federal government and the

   Veteran’s Administration. Mr. Felix has Disabled Veteran license plates on his vehicle as

   issued by the State of Colorado. Mr. Felix has significant impairments and is a “qualified

   individual with a disability” within the meaning of ADA Title III.

          6.      Defendant WILLIS INVESTMENTS OF DURANGO, LLC owns,

   manages, controls, and leases the improvements and building where the NORTHPOINT

   HOME FURNISHINGS is situated. The address of NORTHPOINT HOME

   FURNISHINGS is 1315 Main Avenue, Durango, CO 81301. The business is a place of

   public accommodation, operated by a private entity, whose operations affect commerce




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   within the meaning of Title III of the ADA.

          7.      Defendant WILLIS INVESTMENTS OF DURANGO, LLC is the owner

   of the property. Defendant is a domestic limited liability company whose headquarters is

   41 Sanctuary Pl, Durango, CO 81301. Defendant can be served process via service to its

   Registered Agent: William P. Hermesman at 41 Sanctuary Pl, Durango, CO 81301.


                               IV. FACTUAL BACKGROUND

          8.      NORTHPOINT HOME FURNISHINGS is a business establishment and

   place of public accommodation in Durango, Colorado. NORTHPOINT HOME

   FURNISHINGS is situated on real estate, property, and improvements owned, controlled,

   managed, and leased out by WILLIS INVESTMENTS OF DURANGO, LLC.

          9.      NORTHPOINT HOME FURNISHINGS is not accessible to disabled

   individuals because it has zero ADA-compliant van-accessible parking spaces near the

   main entrance. At the Durango location, there is no ADA-compliant van-accessible space

   (96” space with 96” side access aisle) on the shortest access route to the main entrance.

   There is no disabled parking.

          10.     Pictures taken at the location prove this:




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   NORTHPOINT HOME FURNISHINGS business in Durango, CO. There is no ADA-
   compliant van-accessible space (96” wide with 96” side access aisle) on the shortest route
   to the main entrance. No disabled parking.




   NORTHPOINT HOME FURNISHINGS business in Durango, CO. There is no ADA-
   compliant van-accessible space (96” wide with 96” side access aisle) on the shortest route
   to the main entrance. No disabled parking.


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   NORTHPOINT HOME FURNISHINGS business in Durango, CO. There is no ADA-
   compliant van-accessible space (96” wide with 96” side access aisle) on the shortest route
   to the main entrance. No disabled parking.




   NORTHPOINT HOME FURNISHINGS business in Durango, CO. There is no ADA-
   compliant van-accessible space (96” wide with 96” side access aisle) on the shortest route
   to the main entrance. No disabled parking.


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          11.     The Plaintiff went to NORTHPOINT HOME FURNISHINGS property in

   September of 2022.

          12.     In encountering and dealing with the lack of an accessible facility, the

   Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

   and equal access to facilities, privileges and accommodations offered by the Defendant.

   Plaintiff intends to return to NORTHPOINT HOME FURNISHINGS. By not having an

   ADA-compliant parking area, the Plaintiff’s life is negatively affected by not being able

   to safely access the location. This causes the Plaintiff depression, discomfort, and

   emotional stress and the Plaintiff is prevented from resuming a normal lifestyle and

   enjoying access to businesses in his area.

          13.     Additionally, on information and belief, the Plaintiff alleges that the

   failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

   and obvious; (2) the Defendant exercised control and dominion over the conditions at this

   location and, therefore, the lack of accessible facilities was not an “accident” because

   Defendant intended this configuration; (3) Defendant has the means and ability to make

   the change; and (4) the changes to bring the property into compliance are “readily

   achievable.”

           14.    The Defendant’s Durango location does not have the required number of

   ADA parking spaces. With 1-25 parking spaces, Defendant must have one ADA-

   compliant van-accessible space (96” wide with 96” side access aisle) with a sign. This

   space must be located on the shortest accessible route to the main entrance of the

   business. See pictures above.

          15.     At the Durango location, there are no ADA-compliant van-accessible

   spaces on the shortest access route to the main entrance. There is no disabled parking on


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   the property whatsoever.

           16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

   federal law for 30 years. This is a blatant violation of the ADA.


             V. CLAIM FOR RELIEF - VIOLATION OF THE AMERICANS
                 WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

           17.     Plaintiff repleads and incorporates by reference, as if fully set forth at

   length herein, the allegations contained in all prior paragraphs of this complaint.

           18.     Under the ADA, it is an act of discrimination to fail to ensure that the

   privileges, advantages, accommodations, facilities, goods and services of any place of

   public accommodation are offered on a full and equal basis by anyone who owns, leases,

   or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

   is defined, inter alia, as follows:

                   a.      A failure to make reasonable modifications in policies, practices,

           or procedures, when such modifications are necessary to afford goods, services,

           facilities, privileges, advantages, or accommodations to individuals with

           disabilities, unless the accommodation would work a fundamental alteration of

           those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                   b.      A failure to remove architectural barriers where such removal is

           readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

           reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix D.

                   c.      A failure to make alterations in such a manner that, to the

           maximum extent feasible, the altered portions of the facility are readily accessible

           to and usable by individuals with disabilities, including individuals who use



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          wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

          the altered area and the bathrooms, telephones, and drinking fountains serving the

          altered area, are readily accessible to and usable by individuals with disabilities.

          42 U.S.C. § 12183(a)(2).

          19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

   Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

   Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

   Defendant must have at least one ADA-compliant van-accessible space (96” wide with

   96” side access aisle) near the business entrance.

          20.     Here, the Defendant did not provide a sufficient number of ADA-

   compliant parking spaces in its parking lot, although doing so is easily and readily done,

   and therefore violated the ADA. At the Durango location, there are no ADA-compliant

   van-accessible spaces on the shortest access route to the main entrance. There is no

   disabled parking on the property whatsoever.


                                     VI. RELIEF REQUESTED

   Injunctive Relief

          21.     Mr. FELIX will continue to experience unlawful discrimination as a result

   of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he and

   all individuals with disabilities can access the Defendant’s property equally, as required

   by law, and to compel Defendant to repave and restripe the parking lot to comply with

   the ADA. Injunctive relief is also necessary to compel Defendant to keep the property in

   compliance with federal law.




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   Declaratory Relief

             22.   Mr. FELIX is entitled to declaratory judgment concerning Defendant’s

   violations of law, specifying the rights of individuals with disabilities to access the goods

   and services at the Defendant’s location.

             23.   The facts are undisputed and Defendant’s non-compliance with the ADA

   has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

   violations by the Defendant.



   Attorney’s Fees and Costs

             24.   Plaintiff is entitled to reasonable attorney’s fees, litigation costs, and court

   costs, pursuant to 42 U.S.C. §12205.



                                  VII. PRAYER FOR RELIEF

             THEREFORE, Mr. FELIX respectfully requests this Court award the following

   relief:

             A.    A permanent injunction, compelling Defendant to comply with the

   Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

   from discriminating against Mr. FELIX and those similarly situated, in violation of the

   law;

             B.    A declaratory judgment that Defendant’s actions are a violation of the

   ADA;

             C.    Find that Mr. FELIX is the prevailing party in this action, and order

   Defendant liable for Plaintiff’s attorney’s fees, costs, and litigation expenses; and,

             D.    Grant such other and additional relief to which Plaintiff may be entitled in


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   this action.



       DATED: October 10, 2022         Respectfully,

                                 By:   /s/ R. Bruce Tharpe
                                       R. Bruce Tharpe

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